Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 1 of 41 Page ID #:8




                                EXHIBIT 1
      Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 2 of 41 Page ID #:9




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 22986979
Notice of Service of Process                                                                            Date Processed: 03/31/2021

Primary Contact:           WF West - WF Bank
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       Wells Fargo Bank, National Association
                                              Entity ID Number 2013649
Entity Served:                                Wells Fargo Bank N.A
Title of Action:                              Maria Monge vs. Wells Fargo Bank N.A.
Matter Name/ID:                               Maria Monge vs. Wells Fargo Bank N.A. (11097396)
Document(s) Type:                             Summons and Amended Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            20STCV44953
Jurisdiction Served:                          California
Date Served on CSC:                           03/30/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Michelle Iarusso
                                              626-415-4422
Client Requested Information:                 Matter Management User Groups: [LITIGATION Employee]
                                              Routing Rules (CSC): R0710
                                              Classification: Standard

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
             Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 3 of 41 Page ID #:10
Electronically FILED by Superior Court of Califomia, County of Los Angeles on 03I101?&§T'0604§%herri R. Carter, Executive Officer/Clerk of Court, by V.

                                                                  SUMMONS
                                                                                                                                                      To keep other people frorn. :.:,
                                                    (CITACION JUDICIAL)                                                                              soeing;what,.you ontered on -.
        NOTICE TO DEFENDANT:                                                                                                                         yaur.fpitrt, ptease press the
        (A V/SO AL DEMANDADO):                                                                                                                     Clear This Form Eauttora at the
         WELLS FARGO BANK N.A., a Corporation;lVIELISSA WHITE, an                                                                                 end of the forrn-rllherr finishsrl.

         individual; and DOES 1 through 50, inclusive
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTi4 DEMANDANDO EL DEMANDANTE):

         MARIA MONGE, an individual

         NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days, Read the information
         below.
             You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
          case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
          Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
         the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
          may be taken without further waming from the court.
             There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attomey
          referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
          these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
          (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
          costs on any settlement or arbitration award of $10,000 or more in a civil case. The courPs lien must be paid before the court will dismiss the case.
         IAV!SO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
          continuaci6n.
             Tiene 30 D/AS DE CALENDARIO despu6s de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
          corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
          en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formularfo que usted pueda usar para su respuesta.
          Puede encontrar estos formularios de la corte y mbs informaci6n en el Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en la
          biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
          que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
          podra quitar su sueldo, dinero y bienes sin mas advertencia.
            Hay otros requisitos /egales. Es recomendable que //ame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
          remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
          programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
          (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
          colegio de abogados locales. AV/SO: Por ley, la corte tlene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
          cualquier recuperaci6n de $10,000 6 m6s de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
          pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

        The name and address of the court is:                                                                                                 cASE NUMBER:
                                                                                                                                              (Numero del Caso):
        (EI nombre y direcci6n de la corte                      es): Los Angeles
                                                                                                                                                     20STCV44953
         111 N. Hill St.
         Los Angeles 90041
        The name, address, and telephone number of plaintifrs attorney, or plaintiff without an attorney, is:
        (EI nombre, la direcci6n y el nGmero de te/efono del abogado de/ demandante, o de/ demandante que no tiene abogado, es):
         IARUSSO LEGAL APC 147 Waverly Ave., Pasadena CA 91105 -- (626) 415-4422
                                      Sherri R. Carter Executive Officerl Clerk of Court
                                                                                                                 Clerk, by                                                                    Deputy
        DATE:
        (Fecha) 0~ 1012 021                                                                                      (Secretario)                      ~' ~EI~~ dIIIQ                            (Adjunto)

        (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
        (Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                          NOTICE TO THE PERSON SERVED: You are served
                                         1. =     as an individual defendant.                                                                                                                  -
                                          2. F—I as the person sued under the       Itious name of (specify):

                                                                                                                                                                                           cLAP°~~)~~
                                                             3,                   on behalf of (specify):            C-t.L5 Inz-1
                                                                     under: ~]                 CCP 416.10                                                CCP 416.60 (mi
                                                                                      ~        CCP 416.20 (defunct corporation)        E~CCP 416.70 (conservatee)
                                                                                               CCP 416.40 (association or partnership) =   CCP 416.90 (authorized person)
                                                                                      0
                                                                       0      other (specify):
                                                             4. Fk-?~ by personal delivery on (date):                                        (9—a a       ~
                                                                                                                                                                                                         cf

          Form Adopted for Mandatory Use                                                                                                                              Code of Civil Procedure §§ 412.20, 465
                                                                                                        SUMMONS                                                                                      .ca.gov
            Judicial Council of California
           SUM-100 !Rev. July 1,.21
           ---     - _                009    _....-.:...........-..... _.. .~... ..._<..,   ~ ....,                      Far.your:protection anri privac , pfease press the Ciear.This Fo[i» :
         ~_Save This Form ~';                Print This .Form                                  ear:
                                                                                            ;:ClThis:   For.m. ... -..: :;'           b~tton atfer:you nAYo priatea tt;e toi•m.                    ` .
           u..~... _......~. . .......
                   Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 4 of 41 Page ID #:11
                                                                                             CM-010
                                                                                 ,                              ,   xewu                                .          ,
Electronic
                                                                                                                                           FORcouRruseowt.v
             Michelle larusso, Esq. (SBN: 280483)
             IARUSSO LEGAL A.P.C.
             147 Waverly Ave., Pasadena, CA 91103.

                         TELEPHONE NO.:   646-415-4422                     FAX NO. (Optional):

                  ATTORNEY FOR (Neme): Plalntlff,    MARIA MONGE
             SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
             STREET ADDRESS: 111 N. I"IIII St.
             MAILING ADDRESS:
             CITY AND ZIP CODE: LOS AngeleS, 90012
                   BRANCH NAME: Stanley MOsk COurthOUse

             CASE NAME:
              Monge v. Wells Fargo et al
                                                                                                                           CASE NUMBER:
                       CIVIL CASE COVER SHEET                                  Complex Case Designation
             ~x Unlimited                              Limited             =      Counter          =        Joinder              2 OST CV 4 495 3
                        (Amount                        (Amount
                                                                      Filed with first appearance by defendant JUDGE:
                        demanded                       demanded is
                                                                          (Cal. Rules of Court, rule 3.402)     DEPT.:
                        exceeds $25,000)               $25,000)
                                                        Items 1-6 below must be completed (see instructions on page 2).
                       Check one box below for the case type that best describes this case:
                   Auto Tort                                           Contract                                        Provisionally Complex Civil Litigation
                        Auto (22)                                               Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
                   0
                        Uninsured motorist (46)                       0         Rule 3.740 collections (09)            ~      AntitrustlTrade regulation (03)
                  ~
                  Other PIIPDNVD (Personal Injury/Property            0                                                0      Construction defect (10)
                                                                                Other collections (09)
                  DamagelWrongful Death) Tort                         0         Insurance coverage (18)                0      Mass tort (40)
                  0         Asbestos (04)                                                                              0      Securities litigation (28)
                                                                      0     Other contract (37)
                   0        Product liability (24)                                                                     0     Environmental/Toxic tort (30)
                                                                      Real Property
                   0        Medical malpractice (45)                                                                   ~     Insurance coverage claims arising from the
                                                                      0         Eminent domain/Inverse
                                                                                                                             above listed provisionally complex case
                   =     Other PI/PDM/D (23)                                    condemnation (14)
                                                                                                                             types (41)
                   Non-PI/PDNVD (Other) Tort                          ~         Wrongful eviction (33)                 Enforcement of Judgment
                   ~    Business tort/unfair business practice (07) 0     Other real property (26)                     =     Enforcement of judgment (20)
                   0    Civil rights (08)                           UnlawFul Detainer                                  Miscellaneous Civil Complaint
                                       (13)                         ~     Commercial (31)
                   ~    Defamation                                                                                     0      RICO (27)
                                                                    0     Residential (32)
                   ~    Fraud (16)                                                                                     ~      Other complaint (not specified above) (42)
                        Intellectual  property (19)                 ~     Drugs (38)
                   ~                                                                                                   Miscellaneous Civil Petition
                                                                    Judicial Review
                   0    Professional negligence (25)                                                                   0      Partnership and corporate governance (21)
                                                                    0     Asset forfeiture (05)
                   ~    Other non-PI/PD/WD tort (35)
                                                                    0     Petition re: arbitration award (11)          ~      Other petition (not speciried above) (43)
                   Employment
                   ®    Wrongful termination (36)                   0     Writ of mandate (02)

                   OX       Other employment (15)                      0        Otherjudicial review (39)

             2.  This case =       is     0, is not         complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                factors requiring exceptional  judicial  management:
                a. 0      Large number of separately represented parties           d. 0     Large number of witnesses
                b. 0      Extensive    motion practice  raising difficult or novel e. 0     Coordination with related actions pending in one or more
                          issues that will be time-consuming to resolve                     courts in other counties, states, or countries, or in a federal
                                                                                            court
                c. 0      Substantial amount of documentary evidence
                                                                                   f.       Substantial postjudgmentjudicial supervision
             3. Remedies sought (check all that apply): a. 0            monetary b. En nonmonetary; declaratory or injunctive relief c. 0           punitive
             4. Number of causes of action (specify): Three: 1) Wrongful Termination;       2) Retaliation - Labor Code;   3) Retaliation - Public Policy
             5. This case 0         is    [XI is not        a class action suit.
             6. If there are any known related cases, file and serve a notice of related case. (You may use form CM- 5.)
             Date: November 23, 2020
             Michelle larusso, Esq.


               • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                 under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                 in sanctions.
               • File this cover sheet in addition to any cover sheet required by local court rule.
               ■ If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
               • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only. Page 1 of 2

             Fonn Adopted for Mandatory Use                                                                                      Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
             Judicfal Council of Califomia
                                                                           CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
                                                                                                                                                                          www.courts.ca.gov
             CM-0t0 [Rev. July 1, 2007]
    Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 5 of 41 Page ID #:12
                                                                                                                                                  CM-010
                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                                                                                                                                         you must
To Plaintiffs and Others Filing First Papers. [f you are filing a first paper (for example, a complaint) in a civil case,
                                                                                                                                                  to
comp[ete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used compile
statistics about the types and numbers       of cases filed.  You  must    complete   items   1 through 6 on the sheet.     In item  1, you must   check
one box for the case type that best describes the case. If the case flts both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examp[es of the cases that belong under each case type in item 1 are provided below. A cover
                                                                                                                                                     party,
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
                                                                                                                                                        owed
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
                                                                                                                                                    in which
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction
                                                                                                                                              (1) tort
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:
                                                                                                                                              of
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ
attachment. The identification of a case as a rule 3.740 col[ections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant fi[es a responsive pleading. A rule 3.740 collections
case will be subject to the tequirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must a[so use the Civi[ Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintifPs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                          CASE TYPES AND EXAMPLES
                                                    Contract                                               Provisionally Complex Civil Litigation (Cal.
  Auto Tort                                                                         nt (06)
                                                        Breach of Contra ct/Warray                         Rules of Court Rules 3.400-3.403)
     Auto (22)—Personal Injury/Property
                                                                       f R t [/L
                                                            Breach oenaease                                     AntitrustlTrade Regulation (03)
           Damage/Wrongful Death
                                                                 Contract (not unlawful detainer                Construction Defect (10)
        Uninsured Motorist (46) (if the
                                                                     or wrongful eviction)                      C[aims Involving Mass Tort (40)
         case   involves  an  uninsured
                                                             Contract/Warranty Breach—Sel[er                    Securities Litigation (28)
         motorist claim subject to
                                                                 P[aintiff (not fraud or negligence)            EnvironmentaUToxic Tort (30)
         arbitration, check this item
                                                            Neg[igent Breach of Contract/                       Insurance Coverage Claims
         instead ofAuto)
                                   Injury/                       Warranty                                              (arising from provisionally complex
  Other PIIPD/WD       (Personal
                                                             Other Breach of Contract/Warranty                         case type listed above) (41)
  Property Damage/Wrongful Death)
                                                        Ca[[ections (e.g., money owed, open                Enforcement of Judgment
  Tort
                                                             book accounts) (09)                              Enforcement of Judgment (20)
      Asbestos (04)
                                 Damage                      Co[lection  Case--Se[ler P[aintiff                   Abstract of Judgment (Out of
          Asbestos Property
                                                             Other Promissory Note/Collections                          County)
          Asbestos Personal Injury/
                                                                 Case                                         Confession of Judgment (non-
                Wrongful Death
                                                        Insurance Coverage (not provisional/y                      domestic relations)
       Product Liability (not asbestos or
                                                             comp/ex) () 18                                   Sister State Judgment
           toxic%nvironmental) (24)
                                                             Auto Subrogation                                 Administrat[ve Agency Award
       Medica[ Ma[practice (45)
                                                             Other Coverage                                       (not unpaid taxes)
            Medical Ma[practice—
                                                         Other Contract (37)                                   Petition/Certification of Entry of
                  Physicians & Surgeons
                                                             Contractua[ Fraud                                     Judgment on Unpaid Taxes
       Other Professional Health Care
                                                             Other Contract Dispute                            Other Enforcement of Judgment
              Malpractice
                                                    Real Property                                                    Case
       Other P[/PDNVD (23)
                                       slip              Eminent Domain/[nverse                            Miscellaneous Civil Complaint
            Premises Liability (e.g.,
                                                             Condemnation (14)                                 RICO (27)
                  and fa[I)
                                                         Wrongful Ev[ction (33)                                Other Compiaint (not specifl'ed
            Intentional Bodily Injury/PD/WD
                                                         Other Real Property (e.g., quiet tit[e) (26)               above) (42)
                  (e.g., assault, vandalism)
                                                             Writ of Possession of Real Property                    Declaratory Relief Only
            Intentional Infliction of
                                                             Mortgage Forec[osure                                   Injunctive Relief Only (non-
                  Emotiona[ Distress
                                                             Quiet Title                                                 harassment)
            Negligent Infliction of
                                                             Other Rea[ Property (not eminent                       Mechanics Lien
                   Emotioria[ Distress                                               nt or
                                                             domain, land/ord/tena,                                 Other Commercial Complaint
            Other PI/PD/WD
                                                             foreclosure)                                                 Case (non-tort/non-complex)
   Non-PI/PDIWD (Other) Tort
                                                    Unlawful Detainer                                               Other   Civil Compiaint
       Business TorV     Unfair Business
                                                         Commercial (31)                                                  (non-tort(non-comp/ex)
           Practice (07)
                                                         Residential (32)                                  Miscellaneous Civil Petition
       Civil Rights (e.g., discrimination,
                                                         Drugs (38) (if the case involves illega/              Partnership and Corporate
             false arrest) (not civil
                                                         drugs, check this item; otherwise,                        Governance (21)
             harassment) (08)
                                                         report as Commercia/ or Residential)                  Other Petition (not specitied
       Defamation (e.g., slander, libel)
                                                    Judicial Review                                                above) (43)
              (13)
                                                                      it
                                                         Asset Forfeure     ()05                                   Civil Harassment
       Fraud (16)
                                                         Petition Re: Arbitration Award (11)                       Workp[ace Violence
       Intel[ectual Property (19)
                                                         Writ of Manaed t (02)                                     Elder/Dependent Adult
       Professional Negligence (25)
                                                             Writ—Administrative Mandamus                                Abuse
            Lega[ Malpractice
                                                             Writ—Mandamus on Limited Court                        Election Contest
            Other Professional Malpractice
                                                                 Case Maer tt                                      Petition for Name Change
                 (not medical orlegal)
                                                             Writ--0ther Limited Court Case                         Petition for Relief From Late
        Other Non-PIlPD/WD Tort (35)
                                                                 Review                                                  Claim
   Employment
                                                         Other Judicial Review (39)                                 Other Civi[ Petition
       Wrongfu[ Termination (36)
                                                             Review of Hea[th Officer Order
        Other Emp[oyment (15)
                                                              Notice of Appea[—Labor
                                                                   Commissioner Appeals
                                                                                                                                                    Page 2 of 2
 CM-oiO [rtev. July 1, 2007]                                  CIVIL CASE COVER SHEET
       Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 6 of 41 Page ID #:13

 SHORT TITLE: Whltehor8e v. LOS AngeleS LGBT Center                                                      ASE NUMBER

                                                                                                     r


                             CIVIL CASE COVER SHEET ADDENDUM AND
                                     STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

              This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                           Applicable Reasons for Choosing Court Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.

2.Pennissive filing in central district.                                                8. Location wherein defendanUrespondentfunctions wholly.

3.Location where cause of action arose.                                                 9.Location where one or more of the parties reside.

4. Mandatory personal injury filing in North Dist(ct.                                 10.Location of Labor Commissioner Office.
                                                                                      11.Mandatory filing location (Hub Cases — unlawful detainer, limited
5.Location wfiere performance required or defendant resides.                          non-collection, limited collection, or personal injury).
6.Location of property or permanently garaged vehicle.



                                   .                               ,
                                A                                                           B ;:                                                       Ci.....
                     Civi( Case Cover Sheet                                            Type of Action :'                                      Applicable Reasoris -
                           Category No. :.:                                           (Check only one)                                         See.Step 3 Abpve

                             Auto (22)             ❑    A7100 Motor Vehicle - Personal Injury/Property DamageMlrongful Death              1, 4, 11


                     Uninsured Motorist (46)       ❑    A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist         1, 4, 11


                                                   ❑    A6070 Asbestos Property Damage                                                    1, 11
                          Asbestos (04)                                                                                                   1,11
                                                    ❑   A7221 Asbestos - Personal Injury/Wrongful Death

                      Product Liability (24)        ❑   A7260 Product Liability (not asbestos or toxic/environmental)                     1, 4, 11

                                                                                                                                              1, 4, 11
                                                    ❑   A7210 Medical Malpractice - Physicians & Surgeons
                    Medical Malpractice (45)                                                                                                  1, 4, 11
                                                    ❑   A7240 Other Professional Health Care Malpractice

                                                    ❑   A7250 Premises Liability (e.g., slip and fall)                                        1, 4, 11
                         Other Personal
                         Injury Property            ❑   A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,                 1, 4, 11
                        Damage Wrongful                       assault, vandalism, etc.)
                                                                                                                                              1, 4, 11
                           Death (23)               ❑   A7270 Intentional Infliction of Emotional Distress
                                                                                                                                              1, 4, 11
                                                    ❑   A7220 Other Personal Injury/Property Damage/Wrongful Death




                                                  CIVIL CASE COVER SHEET ADDENDUM                                                      Local Rule 2.3
   LASC CIV 109 Rev. 12/18
   1=or Mandatory Use                                AND STATEMENT OF LOCATION                                                                Page 1 of 4
    Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 7 of 41 Page ID #:14

                                                                                                             ASE NUMBER
SHORT TITLE: Whltehorse V. LOS AngeleS LGBT Center
                                                                                                       r
                                           .   ...                     .... .             .                                 .      .
                    ...                                                                       ®,. :. .                                        C :Applicable . .
                        ., ~ .                                                                         ...
                                                                                       : Type of Action                                    Reasons = See Step 3
               Civil Case Cover Sheet .                                                                                                          Above
                     Category No:                                                       (Check only one)

                                                                                                                                            1, 2, 3
                 Business Tort (07)            ❑           A6029 Other Commercial/Business Tort (not fraud/breach of contract)


                                               ❑           A6005 Civil Rights/Discrimination                                                1, 2, 3
                   Civil Rights (08)

                                                                                                                                            1, 2, 3
                   Defamation (13)             ❑           A6010 Defamation (slander/libel)

                                                                                                                                            1, 2, 3
                       Fraud (16)              ❑           A6013 Fraud (no contract)


                                               ❑           A6017 Legal Malpractice                                                          1, 2, 3
             Professional Negligence (25)                                                                                                   1, 2, 3
                                               ❑           A6050 Other Professional Malpractice (not medical or legal)

                                                                                                                                            1, 2, 3
                       Other (35)              ❑           A6025 Other Non-Personal Injury/Property Damage tort

                                                                                                                                            1, 2, 3
              Wrongful Termination (36)         ©          A6037 Wrongful Tennination
    ~
     m
     E                                                                                                                                      1, 2, 3
     a
     0                                          ©          A6024 Other Employment Complaint Case
    c          Other Employment (15)                                                                                                        10
     E                                          ❑          A6109 Labor Commissioner Appeals
    w

                                                ❑          A6004 Breach of Rental/Lease Contract (not unlawful detainer or vurongful        2, 5
                                                                 eviction)
                                                                                                                                            2' 5
             Breach of Contract/ Warranty
                                                ❑          A6008 ContractM/arranty Breach -Seller Plaintiff (no fraud/negligence)
                         (06)                                                                                                               1, 2, 5
                   (not insurance)              ❑          A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                            1, 2, 5
                                                   ❑       A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                                                                                                             5, 6, 11
    ts                                             ❑       A6002 Collections Case-Seller Plaintiff
      co
    :              Collectians (09)                                                                                                         5,11
      c                                            ❑       A6012 Other Promissory Note/Collections Case
      0
                                                                                                                                             5, 6, 11
     c)                                            ❑        A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt
                                                                  Purchased on or after JanuarV 1 2014
                                                                                                                                             1, 2, 5, 8
               Insurance Coverage (18)             ❑       A6015 Insurance Coverage (not complex)

                                                                                                                                             1, 2, 3, 5
                                                   ❑        A6009 Contractual Fraud
                                                                                                                                             1, 2, 3, 5
                  Other Contract (37)              ❑        A6031 Tortious Interference
                                                                                                                                             1, 2, 3, 8, 9
                                                   ❑        A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)


                Eminent Domain/Inverse                                                                         Number of parcels             2,6
                                                    ❑       A7300 Eminent Domain/Condemnation
                  Condemnation (14)
     N                                                                                                                                       2,13
                 Wrongful Eviction (33)             ❑       A6023 Wrongful Eviction Case

                                                                                                                                             2,6
                                                    ❑       A6018 Mortgage Foreclosure
                                                                                                                                             2,6
                Other Real Property (26)            ❑       A6032 Quiet Title
                                                                                                                                             2,13
                                                       ❑    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)

              Unlawful Detainer-Commercial                                                                                                   6,11
                                                       ❑    A6021 UnlavuFul Detainer-Commercial (not drugs or wrongful eviction)
                          (31)
              Unlawful Detainer-Residential                                                                                                  6,11
                                                       ❑    A6020 UnlawFul Detainer-Residential (not drugs or wrongful eviction)
                             32
                  Unlawful Detainer-                                                                                                          2, 6, 11
                                                       ❑    A6020FUnlawful Detainer-Post-Foreclosure
                 Post-Foreclosure 34
                                                                                                                                              2, 6, 11
              Unlawful Detainer-Drugs (38)             ❑    A6022 UnlawFul Detainer-Drugs



                                               CIVIL CASE COVER SHEET ADDENDUM                                                             Local Rule 2.3
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                                                                                                               ASE NUMBER
SHORT TITLE: Whltehor3e V. LOS AngeleS LGBT Center
                                                                                                         r

                                                                                                 F3                               C Appiicable :
                         A. .:      "        ;       .
                                                                                            Type ot`Action                     Reasons - See Step 3
               Civil Case CoverSheet                                                                                                 Above
                     Category N.o..                                                        (Check only orie)

                                                                                                                               2, 3, 6
                Asset Forfeiture (05)            ❑           A6108 Asset ForFeiture Case

                                                                                                                               2,5
              Petition re Arbitration (11)       ❑           A6115 Petition to Compel/Confirm /Vacate Arbitration
    3
    d
   .~
    d                                                        A6151 Writ- Administrative Mandamus                               2,8
                                                 ❑
   or
   io                                                        A6152 Writ - Mandamus on Limited Court Case Matter                2
   .~           Writ of Mandate (02)             ❑
    =a
     ~                                           ❑           A6153 Writ - Other Limited Court Case Review
                                                                                                                               2
    ~

                                                             A6150 Other Writ /Judicial Review                                 2,8
              Other Judicial Review (39)         ❑

                                                                                                                               1, 2, 8
            Antitrust/Trade Regulation (03)      ❑           A6003 AntitrustlTrade Regulation


                                                 ❑           A6007 Construction Defect                                         1, 2, 3
               Construction Defect (10)

              Claims Involving Mass Tort         ❑           A6006 Claims Involving Mass Tort                                  1, 2, 8
                         (40)

                                                 ❑           A6035 SecuriGes Litigation Case                                   1, 2, 8
               Securities Litigation (28)

                      Toxic Tort                 ❑           A6036 Toxic Tort/Environmental                                    1, 2, 3, 8
                  Environmental (30)

             Insurance Coverage Claims           ❑           A6014 Insurance Coverage/Subrogation (complex case only)          1, 2, 5, 8
               from Complex Case (41)

                                                             A6141 Sister State Judgment                                       2, 5, 11
                                                 ❑
                                                                                                                               2,6
                                                     ❑       A6160 Abstract of Judgment

                                                             A6107 Confession of Judgment (non-domestic relations)             2,9
                     Enforcement                 ❑
                   of Judgment (20)                  ❑       A6140 Administrative Agency Award (not unpaid taxes)               2,8

                                                                                                                                2,8
                                                     ❑       A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
                                                                                                                                2, 8, 9
                                                     ❑       A6112 Other Enforcement of Judgment Case

                                                                                                                                1, 2, 8
                       RICO (27)                     ❑        A6033 Racketeering (RICO) Case

                                                                                                                                1, 2, 8
                                                     ❑        A6030 Declaratory Relief Only
                                                                                                                                2,8
                                                     ❑        A6040 Injunctive Relief Only (not domestic/harassment)
                   Other Complaints
                                                                                                                                1, 2, 8
               (Not Specified Above) (42)            ❑        A6011 Other Commercial Complaint Case (non-torUnon-complex)
                                                                                                                                1, 2, 8
                                                     ❑        A6000 Other Civil Complaint (non-tort/non-complex)

                Partnership Corporation              ❑        A6113 Partnership and Corporate Govemance Case                    2,8
                   Governance (21)

                                                              A6121 Civil Harassment With Damages                               2, 3, 9
                                                     ❑
                                                                                                                                2, 3, 9
                                                     ❑        A6123 Workplace Harassment With Damages

                                                     ❑        A6124 Elder/Dependent Adult Abuse Case With Damages               2, 3, 9
                   Other Petitions (Not
                                                     ❑        A6190 Election Contest                                            2
                  Specified Above) (43)

   M v                                                   ❑    A6110 Petition for Change of Name/Change of Gender                   2,7

                                                         ❑    A6170 Petition for Relief from Late Claim Law                        2, 3, 8

                                                         ❑    A6100 Other Civil Petition                                           2, 9




                                                 CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
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                                                    AND STATEMENT OF LOCATION                                                      Page 3 of 4
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      Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 9 of 41 Page ID #:16

 SHORT TiTLE: Whitehorse v. Los Angeles LGBT Center                                       CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
        (No address required for class action cases).

                                                                        ADDRESS:
   REASON:
                                                                                         5300 Lankershim Blvd
    ❑ 1. ❑ 2.03. ❑ 4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9. ❑ 10. ❑ 11.



   CITY:                                      STATE:        ZIP CODE:


               North Hollywood                   CA     1       91601
                                                                                                  CENTRAL                 District of
Step 5: Certification of Assignment: I certify that this case is properly filed in the
              the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: November 23, 2020
                                                                                      (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
           5. Payment in full of the filing fee, unless there is court order for waiver,, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




                                             CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
   LASC CIV 109 Rev. 12/18                                                                                                   Page 4 of 4
                                                AND STATEMENT OF LOCATION
   For Mandatory Use
               Case/ Superior
Electronically FI
                      2:21-cv-03412-ODW-AGR                             Document 1-1 Filed 04/21/21 Page 10 of 41 Page ID #:17
                              Court of California, County of Los Angeles on 11/23/2020 11:33 PM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy
                                                                                20STCV44953

                                      Assigni;d for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Daniel Murphy




                        IARUSSO LEGAL APC
                    1
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                    2   147 Waverly Ave.
                        Pasadena CA 91105
                    3   P: 626-415-4422
                        Michelle @iarusso.legal
                    4

                    5
                        Attorneys for Plaintiff, MARIA MONGE
                    6

                    7                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    8                   FOR THE COUN'I'Y OF LOS ANGELES — CENTRAL DISTRICT
                    9

               10       MARIA MONGE, an individual,                                     Case No.          2 0 :ST CV 4 495 3
               11                             Plaintiff,                                    FIRST AMENDED COMPLAINT FOR
               12       vs.                                                                         DAMAGES FOR:
               13                                                                        i. Discrimination Based on Sex in
                                                                                            Violation      of      the   California
               14       WELLS FARGO BANK N.A., a                                            Constitution, art. I, §8
                        Corporation; MELISSA WHITE, an                                   2. Retaliation in Violation of Labor Code
               15       individual; and DOES 1 through 50,                                  § 1102.5, et seq.; and
               16       inclusive,                                                       3. Wrongful Termination in Violation of
                                                                                            Public Policy
               17                           Defendants.                                  4. Negligent Infliction of Emotional
               18                                                                           Distress

               19                                                                                   JURY TRIAL DEMANDED

               20

               21

               22

               23

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                25

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                                                      COMPLAINT AND DEMAND FOR JURY TRIAL
                                                                       1
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 11 of 41 Page ID #:18




1                                           THE PARTIES
2       1. Plaintiff MARIA MONGE 'is a citizen of the State of California and a resident of
3    the County of Los Angeles. MONGE is a female.
4      2.   Plaintiff is informed and believes and thereupon alleges that at all times relevant
 5   hereto, Defendant WELLS FARGO BANK N.A.. was and is an out of state corporation
 6   doing business in Los Angeles County, California.
 7     3.   Defendant Melissa White, an individual, was an employee of WELLS FARGO at
 8   all times pertinent to this lawsuit and an employee at branch in the city of Los Angeles.
 9     4.   Plaintiff is informed and believes and thereon alleges that defendant White is a
10   resident of Los Angeles County.
11     5.   The true names and capacities, whether individual, corporate, associate, or
12   otherwise, of the Defendants named herein as Does 1 through 50, inclusive, are
13   unknown to Plaintiff at this time and therefore said Defendants are sued by such
14   fictitious names. Plaintiff will seek leave to amend this Complaint to insert the true
15   names and capacities of said Defendants when the same becomes known to Plaintiff.
16
     Plaintiff is informed and believes and based thereon alleges that each of the fictitiously
17
     named Defendants is responsible for the wrongful acts alleged herein, and is therefore
18
     liable to Plaintiff as alleged hereinafter.
19
       6. Plaintiff is informed and believes and based thereon alleges that at all times
20
     relevant hereto, Defendants, and each of them, were the agents, employees,
21
     coconspirators, parent corporation, joint employers, alter ego, and/or joint venturers of
22
     the other Defendants, and each of them, and in doing the things alleged herein, were
23
     acting at least in part within the course and scope of said agency, employment,
24
     conspiracy, joint employer, alter ego status, and/or joint venture and with the
25
     permission and consent of each of the other Defendants.
26
       7. Whenever and wherever reference is made in this Complaint to any act or failure
27
     to act by a Defendant or co-Defendant, such allegations and references shall also be
28


                           COMPLAINT AND DEMAND FOR JURY TRIAL
                                                   2
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 12 of 41 Page ID #:19




1 I I deemed to mean the acts and/or failures to act by each Defendant acting individually,
2 I I jointly and severally.
3                                       GENERAL ALLEGATIONS
4         8. Ms. Monge worker for defendant WELLS FARGO for approximately 6 years in a
5 I branch in Sherman Oaks CA.

6         9. During the time Ms. Monge worked at the branch, she was harassed by
                                                                                 her

7      managers to constantly open new savings accounts in a manner that against the rules.
 8       10. During an investigation in the matter, Ms. Monge felt pressured by the
 9     investigator to make false statements. However, the order to break the rules wile
10     opening new accounts came from management and that's what Ms. 1Vlonge told the
11     investigator.
12        11. In January of 2017,       Ms. Monge began dating a manager form a different
13     location in the same district.
14 I      12. The friend of the manager, Melissa White, made derogatory statements about
15     Monge because of her relationship with her manager friend.
16       13. After Ms. Monge and the manager broke up, Ms. Monge is informed and belil
17 I and here on alleges that Ms White set out to have Ms. Monger terminated by ma]

18 I false statements about Ms. Monge

19        14. Ms. Monge felt unsafe at work due to the break up with the Manager
                                                                                 and

20 I harassment from Ms. White, so she called human resources to open up

21 I investigation..

22         15. MONGE suffered retaliation for her complaints of the manager's and Ms. White'
23     harassment, including sham investigations of MONGE'.
24         16. MONGE learned that WELLS FARGO Human Resources Compliance had closei
25     MONGE' case without adequately investigating her complaints of harassment, taki
26     any remedial measures or actions to prevent future harassment, retaliation a
27     discrimination.
28

                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                                   3
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 13 of 41 Page ID #:20




1         17.MONGE is informed, believes and thereon alleges that WELLS FARGO
2      discriminated against MONGE by, among other acts and omissions, refusing to
3      adequately investigate and address her complaints of discrimination and retaliation
4      MONGE is a woman.
5         18.Ms.   Monger     is    informed   and   believes   and    thereon    alleges   the

6      Ms. White, interfered with the investigation into the fraudulently opened accounts,
7      made false statements about Ms. Monge and used her position to have Ms. Monge
 8     terminated on May 31, 2oi8.
 9        19.Notably, two other men who had worked with Ms. 1Vlonge who also were
10     involved in the fraudulent account investigation were not terminated.
11        20.As a result of this unjustified retaliation termination, Ms. Monge suffered
12     emotional distress.
13
14                                     FIRST CAUSE OF ACTION
15              (Discrimination in Violation of the California Constitution, Art. I, §8)
16                                 (Against WELLS FARGO Defendants)
17        21.MONGE realleges each of the preceding paragraphs and incorporates them b}
18     reference as though fully alleged herein.
19      22.By virtue of the conduct alleged in the preceding paragraphs, Defendant;
20 I discriminated MONGE in violation of the California Constitution, Art I, §8.
21 '       23.As a direct and proximate result of Defendants' willful, knowing and intentiona:
22     actions, MONGE has suffered and will continue to suffer mental distress, anguish,
23 I indignation, embarrassment, loss of earnings and other employment benefits and othei
24     special and general damages, in an amount to be proven at trial.
25                                    SECOND CAUSE OF ACTION
26                   (For Retaliation in Violation of Labor Code § 1102.5, et seq.)
27                             (Against All Defendants and DOES 1-20)
28

                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                              4
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 14 of 41 Page ID #:21




1      24.Plaintiff realleges each of the preceding paragraphs and incorporates them b,.
2         reference as though fully alleged herein.
 3     25.Labor Code § 1102.5, subdivision (a), prohibits employers from making, adopting
 4        or enforcing any rule, regulation or policy that prevents employees from disclosing
 5        information to governmental agencies where the employee has reasonable caus4
                                                                                            ,
 6        to believe that the information discloses a violation of state or federal law, or
 7        violation or noncompliance with a state or federal rule or regulation.
 8     26.Labor Code § 1102.5, subdivision (c), prohibits employers from retaliating ;
 9        an employee for the employee's refusal to participate in an activity that
10        result in a violation of state or federal statute, or a violation or noncom]
11 '      with a state or federal rule or regulation or for reporting such violations to his
12
          her employer.
13 I
       27.As alleged above, Defendants violated Labor Code § 1102.5, subdivisions (a)
14
          (c) in that LA LGBT CENTER retaliated against WHITEHORSE because
15
          frequently complained about the unlawful working conditions she endured
16
           refused to further participate in what she reasonably believed to be unla
17
           conduct and practices by her employer, which violated the federal and state
18
           and regulations identified above.
19                                                                                    suffer
       28.As a proximate result of I.A LGBT CENTER's actions, WHITEHORSE has
20
           and continues to suffer damages in an amount according to proof.
21
       29.As a proximate result of LA LGBT CENTER's actions, WHITEHORSE
                                                                                   on behalf
22
           herself and similarly situated employees and former employees, seeks cos
23
           penalties, and attorneys' fees.
24
        30.Defendants' actions were willful, malicious, fraudulent and oppressive, and
25
           committed with the wrongful intent to injure Plaintiff and in conscious disrega
 26
           of PlaintifPs rights, which entitles Plaintiff to exemplary damages in an amount
 27
           be proven at trial.
 28

                          COMPLAINT AND DEMAND FOR JURY TRIAL
                                           5
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1          31.
2                                       THIRD CAUSE OF ACTION
                          (For Wrongful Termination in Violation of Public Policy)
3
                                (Against All Defendants and DOES 2i-4o)
4
5          32. Plaintiff realleges each of the preceding paragraphs and incorporates them

6             reference as though fully alleged herein.

7          33. During MONGE's employment, WELLS FARGE subjected MONGE to unlaw

 8             and intolerable working conditions, including an unsafe work environment, a

 9               retaliation based on her legally protected activities. Instead of addressi

10               MONGE's complaints regarding retaliation from her former flame, WEL
11               FARGO continued to require MONGE to work under the same unlaw
12               conditions.
13         34. It is against the public policy of the state of California for an employer
14             terminate or otherwise discriminate against, an employee because the emplc
15 I             has opposed practices forbidden by the Fair Employment & Housing
16 I             (Government Code §1294o(h)).
17         35.In terminating and retaliating against MONGE because MONGE freque
18 i          complained about her unlawful work environment, WELLS FARGO violated
19 I             public policy of the State of California, and various laws prohibi
20 I             discrimination and retaliation, including, but not limited to Califo.
21               Government Code §1294o(h).
22         36. WELLS FARGO intentionally created, or knowingly permitted to exist,
23 I             intolerable workplace conditions.
24 I       37. Defendants were motivated to terminate Plaintiffs employment on grounds
25     I         violate California public policies and laws, as referenced above.
26 i
           38. As a proximate result of Defendants' conduct, as alleged above, Plaintiff has
27
               harmed in that he has suffered the loss of wages, benefits and additional
28

                                COMPLAINT AND DEMAND FOR NRY TRIAL
                                                 6
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 16 of 41 Page ID #:23




1       of money he would have received if he had not been terminated from her positi
2       with Defendant, in an amount according to proof at the time of trial. Plaintiff v
3       seek leave to amend this Complaint when the exact amount of damages has be
4        ascertained, or will prove the same at time of trial.
5     39. As a further proximate result of Defendants' actions as alleged 1
6        Plaintiff has been harmed in that he has suffered extreme and
7        humiliation, mental anguish and emotional distress, in an amount in excess of
8        minimum jurisdiction of the Court, according to proof at time of trial.
9     40. The above recited actions of Defendants were committed with malice, frai
10
         and/or oppression and in reckless disregard of the rights of Plaintiff. Plaintiff
11
         informed and believes and on that basis alleges that the acts alleged herein taki
12
         towards him were carried out by managing agents of Defendants and/or with tl
13
         ratification and approval of officers and/or managing agents of Defendants in
14
         malicious, oppressive and fraudulent manner in order to harm Plaintiff, or with
15
         willful and conscious disregard of Plaintiffs rights, thereby causing him unju
16
         hardship, humiliation and/or emotional distress. Such conduct was despicab
17
         and justifies an award of punitive damages against Defendants in an amoui
18
         sufficient to deter them from engaging in such conduct again in the future, in
19
         amount according to proof at time of trial.
20

21
                                  FOURTH CAUSE OF ACTION
22
            (Negligent Infliction of Emotional Distress, against WHIITE, WELLS FARGO
23
                                        and DOES 40-50)
24

25    41. The allegations in each of the preceding paragraphs are realleged and

26       incorporated herein by reference.

27    42. DOE alleges, alternatively, that Defendants CARUSO, WELLS FARGO and DOES

28       40-50, and each of them, knew or should have known, that their failure to exercise

                         COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 7
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 17 of 41 Page ID #:24




1         due care in doing the acts alleged above with respect to Ms. Monge would cause
2         Ms. Monge severe emotional distress.
3      43. As a proximate result of the conduct of Defendants, and each of them, and the
4         consequences proximately caused by it, as herein above alleged, Ms. Monge
 5        suffered severe emotional distress and mental suffering all to her damage in a sum
 6        according to proof.
 7     44. Defendants and each of them, committed said negligent infliction of emotional
 8         distress alleged herein against Plaintiff, maliciously, fraudulently, and
 9        oppressively with the wrongful intent of injuring, harassing and retaliating against
10
           Plaintiff for an improper and evil motive which constitutes a malicious and
11
           conscious disregard of PlaintifPs rights. Plaintiff is thereby entitled to punitive
12
           damages from Defendants in an amount to be determined at trial.
13

14
                                    FIFTH CAUSE OF ACTION
15
                                             PRAYER
16
           WHEREFORE, PLAINTIFF prays for relief from this honorable Court as
17
     follows:
18

19
        i. Special and general damages in an amount to be proven, including interest;
20
        2. All costs of bringing and conducting this case;
21
        3. Attorney's fees
22
        4. Exemplary and punitive damages, to punish and make an example of
23
            Defendants;
24
        5. For a declaration and Order thereon that Defendants may also be aware of their
25
           obligations under the law to not engage in discriminatory practices and violate
26
            the law as relates to California's Fair Employment and Housing Act;
27

28


                          COMPLAINT AND DEMAND FOR JURY TRIAL
                                           8
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 18 of 41 Page ID #:25




1      6. For any and all injunctive relief this court deems necessary in order to effectuate I
2         Defendants' compliance with California's Fair Employment and Housing Act;
                                                                          the
3      7. For an order enjoining Defendants from continuing to engage in
4         aforementioned unlawful business practices in violation California's Fair
5          Employment and Housing Act;

6      8. Such other and further relief as this honorable Court may deem just and proper. I

 7

 8             'PLAINTIFF RESPECTFULLY DEMANDS A JURY TRIAL'

 9

10   Respectfully submitted,

11   IARUSSO EGAL APC

12
                 ~
                                                                   Dated: 11/23/2020
13
14   By: MICHELLE IARUSSO

15   Attorney for Plaintiff MARIA MONGE

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                         COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 9
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 19 of 41 Page ID #:26




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                                         rrtay erater into one, two, or all three of the stips9latior€s;
                                         hoavever, thay may not alter the stipv9at.ions as written,
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                                         because the Court Warats to ensura urtifsrmity of app6icaticn.
                                         These sttpulaffons are [raeant to encourage cooperatlora
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                       S't`dPULAT9t3N — D1aCC1VER'y RESOLUTtt2N

          This stifsuiation is intmndecl t+o provide a ftst and anformat resotut3on of discovery issues
          ttirougta tmiled papurwork and art #nformal canfgrence with the t✓ocaft to aid tn the
          resotutiora of the €ssues.                  I

          "the taarties agree tirat:
          1. Prior to the discovery cest-c+ff fn this a+ction, no discxavery naotior: shaii be tiled or heard untess
             the tn®ving party first makes a written request for an 9nfora-nai t:}iscovery Confer+snce pursuant
             tcs the terms of this stipulation.

          2. At the informai C3iscovery Danferenc e the Court witl consider 1he dispule presented by parties
             and determine vihether it can be resotved inrormaliy. Nothing set forth taerein wQfi preclude a
             .party from rraaking a retsard at the conclusion csf an tnformal Discrsvery Confnrence, either
             cralty or in writing.
          3. i✓oltovu9ng a reasanattle and good faith attempt at an inforrnat resoiutiora of eacit issue to be
             ptaserated, a party may request an Inforn'tai 8iscovery Cc,nterence pursuant to the follovring
             proceclures:

                     a. 'i"he party requesting the lnformal Discovery Conferenc® wilt:

                                  Fifa a Request for infOrmal Discovery Conference with ttta cierk's ofiice on the
                                  appresvet! farm {copy attached} and deliver a courtesy. canfarrned copy to the
                                  assigned department;

                        U.        tncitsde a bdef surnmaay of the dispute and specify the relief requested: and

                       Di.        Seive tlte opposing party purrsuant to any authorized or agreed methotf of s®rvice
                                  that ensures that the opposing party receives the Request for inf,oamat Discovery
                                  Cortference na later than tie next court riay foiiowing tha filing.

                     b. AnyAnswer to a Request for tnfvrrnal Discovery Gonference must:

                        i:        AVso be Gled on the appPeaved fotnt (copy attached);

                       ii.        lnciude a brmef surnmary af why the requested relief shoutd be deniod;

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         rwr E3PNoeW tSse                                                                                          Parge 1 ot 3
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                    iii. Be filed vAthin two {2} court clays of receipt of tte Request; artd

                    iv. 8e servedi orr the opposing parly pursuant to any authoriaed or agreed upon
                        method saf service that ensures thot ttye opposing party raceives the Answer no
                        9ater ttien the next court ciay fotiowing the iiing.
                c. No other pteadirigs, inctuding but not timited to exhibits, dectarattons, or attachrnents, will
                   be accepted.
                d, tf the Court has not grarated or denied the Request for Inforrnat t]iscovery Conferenr.e
                   within ten (1il) days Fotiowing the Ming of the Request, then it shait 1e deemed to have
                   ber:n deniedm lf the Cotrrt acts on the Request, the parties wiil be notiried whether the
                   Request for informai Discovery Conference has been granted or denied and, if granted,
                   the date and time of ttle tnforrnal t?kscovery CQnference. which must be witftin twenty {20}
                   days ot4he t7iing of the R$quest for int'ormei i3iscovery Conference.

                a. If the cnnferetrce ts not hetd witizin twenty (20) dag+s of the tiiing of tf►e Reqttest for
                   informat Discovery Conference, urgess extended by agreement of the parties and the
                   Court, then the Ftequest fiar the Informat Discovery Csanference shall be deemed to have
                   been denied at that time.
       d. tf {a} the Court has deniad a conference or (b) one of the #irne deadlines above has exptred
          withoert the Court having acted or {c} the tnformai Discrsvery Conferencca is conctuded without
          resoiving the dispute, then a party rnay file a discovery tnotion to adciress unresolvrec4 issues.
       S. The pariies hereby further agree that the time for rnakisug a naotion to carnpet or ottZer
          discovery rnotion is tolled from trie date of tiling of the i2equest for tnforrnat Discovery
          Conference untit {a} the r,aquest is denied or deemed denied or (b) twenty (20) days after tha
          rrting of the Request fcr (nf+arrnat Discovery Conference, whichever is earlier, untess extended
          by ®rder of the Court.

            It is the understanding and Intent of the pariies that this stipuiation shalt, for each discovery
            dispute to wh#ch it appties, constitute a wrdting memoriatizing a'specific tater date to wttich
            the profaounding [rar detnanding or requesting] party and: the responding party have agreed in
            wrfting," within ttte meaning of Cods Civil Procedure sactions 2D8ft.30C1(c), 2t}31.32t?(c), and
            2t}33.2gC2(c).

       6. Nething herein v+ili precludle eny party from apptying ex parf'e for eppropriete relief, ineiuding
          an order shortening time for a motion to be hearci concernir►g discovery.

       T. Atty party may terminate this stiputatkm by giving twsnty-one (21) days notic$ of intent to
          terrninate the stiputation.

       8. References to "days" mean catendar days, untess otheawise noted, it' the date for perfornaing
          any act pttrsuant to this stipuiation falls on a Saturday, Sunday or Couri ttoiEday, tiaen the time
          for perforrninq titet ect shait be extended to the next Caurt day.



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          Tiltl:r.stlpulatiosi fs intet;ttad to encourage coesperation atnong the parties at an +sarty stage in
          the titigatiors and to asstst the parties in eftietent case resolcation.
          The parties agree Qhat;
          9. The partiss commit to conduct an initia) conference (in-person or via teieconterence or via
             videoconference) within 15 days from the date this stiputatian is signed, do aftscuss arscf eansider
             whefher there can 6e agrseraaent an the frsJlowtngr.
               a. Are nroatiflns to rhatienge the pteadings necessary7 if the issue can be resolveri tay
                  amendrnent as of right, ur if the Court wouid aifow ieave to amend. couJd an amended
                  compTaint resatve rnost or aii of the issues a demurrer might othervvese sadse7 if so, the parties
                  agree to wortt ttvough pieading issuss so ihat a demutrer need onty ratse tssues they cannot
                  resoive. ts the issue that the siefendant seelcs to raisss amerrataie to resotution on darnisrrer. or
                  wouid some other type of ►auotion be preferatlie? Coutd a votuntary tasgeted exchange of
                  documents or Iriforsnation by any party cure an uncerta#nty ia the pieadings7
               b. Initia3 mutuat escchanges of documents at the "core" of the iitigation. {t+or example, in sn
                  emplaymesit oase, the empbymerrt records, persorrnei fte and docusreents reiating to the
                  conduct {n questian cautd 6e considered "caare." tr9 a personnal injury case, an incident or
                  potice ref.sort, medicat rerords, and repair or maintenance records couid tte considered
                    "core.");

               c. Exchange of names and contact fnforrnat3on of vvitnesses;
               d. Any insurarrce agrsement that rnay be avaitabie to satisty part or aii of a judgment, or to
                  ir€demrtify or reimburse rar payrnents made to satisfy a judgrnent;
               e. t~scctZange of any other in₹orrnation that migttt be hefpfut to faaititate vnderstandisxt, iaandOng,
                  or resotution of the +cas® in a manner that preserves objections €ar privileges by agreesrertt;
              fControtiing issuess of law that, if resoived eariy, wiil prctmate ef€iciency and econoasiy in other
                phases of the case. Aiso, uhera and how such issues can be presented to the Court;
              g. Whether or when ttte case should be scheduied uvith a settiement officer, us►hat discovery rsr
                 court ruttng ran iegat ossues is reasonabiy requket3 to ¢aaake setUament discusstons meaningful,
                 and whether t#ae Qarfi$s vuish ta use a sitting judge or a ptivate med#ator ar other options as
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                  STIPULATION ANt3 ORDER — Nft3TIt)NS 9N t.lMtNE


          Tt•iis stiputation ts ltatended to provide fast and lnfcalrrnal resot>`atiort of evidentiary
          issues through diiigent efforts to define anci discuss sa>ich issatees and timit pagerrwork.

          Ths parties agree ttZat:

         1. At least       days before ttae finai status conference, each party wlii prov8de aii other
            parties with a list corttaining a one paragraph explanaUon of each proposed rnotion in
            limine. Each one paragrapn explanation must identify the substance of a singte proposect
            motion in iimine and the grr►unds for the proposed motlon.
         2. The parties thereafter wili meet anc# confer, etther in person or via teleconference or
            videoconference, conceming all proposed motions in timine. tn that cneet and confer, tfee
            partles vvill determine:
               a. Wheiher the parties can stipulate to any oi the prcaposed mutions. tf the parties so
                  stipulate, they may file a stipulation and proposed orr3er with the Court.
               b. Whetter any of ttYe proposed mcstlons can be brtefed and sutgtrtitted by means of a
                  short Joint stateanent of issues. For each m€alion wnich can be addressed by a short
                  Joint statement of Issues, a shos# joint staternent of #ssues must be filed viith the Court
                  10 days prior to the t7na1 status conference. Each side's por#ian of the short Jaint
                  statement of issues rraay not exceed three pages. The parties witl rryeet and confer to
                  agree on a date and manner €or exchanging the parties' respective portions of the
                  short joint statement of issues and the process for fling the short Joint statement of
                  issues.
         3. Atl proposed ffnotic►ns !n timine that are not either the subject of a stipuiation oa- briefed via
            a short jotnt statenaertt of lsssues will be briefed and flled In accordance vvith the Caiifomia
            Rules of Court and the t_as Angeies Saaperior Court Rules.



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         IAsc AppmYna tmra 1              Si°IPtlLATION AI'VD ORf3ER — Pdi®'t'lCDNS !Ni LiMtNE
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        The follovuing parties s8ipuia#e:
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                            Superior Court of California, County of Los Angeles


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                                                       INF.~RMA7ION-PACKAGE ON;,EACH PAR1YtWlTH;THE;COMPLAINT:

   iCRaSS-COMPLAiNANTS must'serve'ttiisfADR ihfflrmatlon Package an any.new part~es named ta the aeilnn,
   ' wtth thQ cross complaint;         -                •                               '      _


  What is ADIt?
  ADR helps peopie find solutions to their iegai disputes without going to triai. The main types of ADR are negotiation,
  mediatlon, arbitration and settiement conferences. When ADR Is done by phone or computer, it may be caiied Oniine
  Dispute Resolution (ODR). These "alternatives" to litigation and triai are described beiow.

  Advantases of ADR
     • Saves Time: ADR is faster than going to triai.
        •    5aves Money: Parties can save on court costs, attorney's fees and witness fees.
        •    Keeps Control with the parties: Parties choose their AOR process and provider for voiuntary AOR.
        •    Reduces stressJprotects privacy: ADR is done outside the courtroom, in private offices, by phone or online.

  Disadvantartes of AdR
        •    Costs: If the parties do not resolve their dispute, they may have to pay forADR and (itigation and trial.
       •     No PublicTriaf: ADR does not provide a public triai or a decision by a judge or jury.

  MalnTvoes of ADR:
        i. Negotiation: Parties often taik with each other In psrson, or by phone or oniine about resoiving theircase with a
           settiement agreement instead of a triat. If the parties have lawyers, they will negotiate €or their ciients.

       Z. Mediation:ln mediation, a neutrat "mediatoi" listens to each person's concems, heips them evaivate the
          strengths and weaknesses of their case, and works with them to try to create a settiement agreement that ls
          acceptabie to atE. Mediators do not decide the outcome. Parties may go to triai if they decide not to settie.

                        Mediation may be appropriate when the parties
                             •     want to work out a sotution but need heip from a neutral person.
                             •     have communication probiems or strong'emations that interfere with resolution.
                       Mediation may not be appropriate when the parties
                             •     want a pubiic trfal and want a judge or jury to decide the outcome.
                             •     iack equal bargaining power or have a history of physicraiJemotionai abuse.
                                                                                                                         1A5c1
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  For Msndhlory Use
  califaela Rulas nf court, rule 3.221
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 29 of 41 Page ID #:36




                                           How to arrarige mediation In Los Angeles County
         Mediation for dvii cases ls voluntary and parties may select any mediator,they wish. Options Indude:

                   a. 7he Civi1 Mediation Vendor F{esource List
                        Parties may contact,'thr.se~organizations to request a"Resource List Mediation",for reduced-cost or
                                  free (for selected cases) mediatlon in person or with ODR (by, phone or onqne).

                        e JAMS;`Inc.:Case tMenager (213) 253-9776 , mdawsonpjamsad~com.
                        • Mediation Center of Los Angeles: Case Manager: (833) 476-9145 .Wol8rnediationLA.ora

                   Thesdorgarifzations cannot accept every case and they may dec€€ne cases at tlteir discretion.
                      Vlsit vaww.laco
                             _. _.    urt.orra/ADR.Res.~.ist fnr lrnportarit:informstion and FAQs before contacting them:
                                                                                              _
                      NOTE: 7his servlee is nal,gvailabie far-fainUy law: probate-oc 5rriaq cli'lms.
                                                    .~._   .    .
                   6. ' Lbs Aqgeles County l)Ispsrte ResolutTon'?rograms
                        ht~os://wdacs.la eopnty.+zovJoroRra msld rol
                            • Free, dny- of- trlal mediations at the courthouse forsmal{ clalms, unlawful detainers (evictions)
                                and, at the Staniey Mosk Courthouse, limited civll. No appointment needed.
                            v, Free or low-cost merilations fore the day.of triai forthese and other case types.
                            • For ODR by phone or computer for smail clain►'s ar unlawfui detainer (eviction) cases hgtare the
                                day ®f trial, vislt
                                http:llwww.lacou rt.orF(,dlvis€onJsmaqciaims(pdf/Qn I€neDls outeResolu tionF€yersEnp5pan.pdf

                  c. Mediators and ADR and Bar organizations that provide mediation rnay be found on the
                                                                                                         internet.



        3. Arbitration: Arbitrat€on is less formal than trial, but like trial, the parties present evidence and
                                                                                                                argurnents to the
           person who decides the outcome. in "binding" arbitration, the arbitrator's dec€sion Is finai;
                                                                                                             there ls no right to
           trial. in "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
           Information about arbitration, visit httg:/twww.courts.ca.eovluroerams-adr.htm

       4. Mandatory Settlement Conferences (IYISC): MSCs are ordered by the Court and are often held
                                                                                                            close to the trial
          date. The parties and their attorneys n+eet with a Judge orsettlement of₹icer who does
                                                                                                  not rnake a decision but
          assfsts the part€es In evaluattng the strengths and weaknesses of the case and in negotiating
                                                                                                        a settiement.
          For information about the Court's MSC programs for civil cases, visit: www.lacourt.oreldivislon/c€
                                                                                                               viflsettlernent




 Los Angeles Superior Court Jt,DR website: www.lacourt.orR/dives€on/civil/settlement
 For general infomnation and vldeos about AOR, visit http:!/www.courts.ca.gqv/prograrns-adr.htm




 LASC av 271 N£W 09/19                                                                                                      LASC2
 For Mandatory Use
 CaTifornta Rules ot coun, ruk 3.221
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                 5                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 b                                     ~ FOR THE COUNTY OF LOS ANGELES
                 7

                 8   Ihi RE LOS ANGELES SUPERIOR COURT`) FIRST AMENDED GENERAL ORDER
                '9    - MAIJDATORY ELECTRONIC:FILING )
,                    FOR CN'IL
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                12             On Decembcr 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
                13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
                14   Angeles County Superior Court mandated electranic 6ling of .all documents filed in Non-Complex
                15   Unlintited Civil cases by litigants represented by attomeys. (Califonua Rules of Court, rule 2.253(b).)
                16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the I
                17
                     following:
            ,
        h
            18       1) DEFINTTIONS
                19      a) "Bookmark"` A bookmazk is a PDF document navigational tool.that allows the reader to
                20             quickly locate and navigate to a designated point of interest within a document.
            21          b) "Efiling Portal" The official court webs'tte includes a webpage, referred to as the efiling
            22                 portal, that gives litigants access to the approved Electronic Filing Service Providers.
            23          c) "Electronic Envelope" A transaction through the electronic service provider for submission
            24                 of documents to the Court for processing which'may contain one or more PDF documents
            25                 attached.          :.
            26          d) "Electronic Filing" E[ectronic Filing (eFiling) is the electronic transmission to a Court of a
            27                 document in electronic ,form. (California Rules of Court,' rule.2.250(b)(7).)
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                                            FIRS'f`'AINENDED" GENERAL ORUER`RE1NANDA'PORY EE ECTRONIC"FIiaNG FOR C[VIL` `
        Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 31 of 41 Page ID #:38
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                    e) 1tElectronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
    _    2             person or entity that receives an electronic filing from a party for retransmission to the Court.
          3            In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
          4            agent of the Court. ,(California Rules of Court, rule 2.250(b)(8):)
          5         f) "Electronic Signature" For purposes af these local rulesandin conformity with Code of
          6            Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
                       (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
          8            2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
              .
          9            process attached to or logicallyassociated with an electronic record and executed or adopted
         10            by a person with the intent to sign the electronic record.            t
'       11          g) '%iypierlink"„ An electronic link providing direct access from one distinctivelymarked place
         12            in a hypertext or hypermedia document to another in the same or different document.
                    h) "Portable Document Format" A digital document format that preserves all fonts,
        ,14            formatting, colors and graphics of the original source document, regardless of the application
        15             platforrn.used.                                                                                             I
        16        2) MANDATORY' fiLECTRONIC FILING
        17 i        a) Trial Court Records
        18             Parsuant to Government Code section 68150, trial court records may be created, maintained,
        lg .
                       and preserved in electronic format. Any document that the Court receives electronically must
        20             be clericaIly processed and must satisfyall legal filing requirements in order to be filed as an
        2I             of'ficial court record (California Rules of Court, ruies 2.100, et seq: and 2.253(b)(6)):
                          °
        22          b) Represented Litigants
        23             Pursuant to Califonnia Rules of Court, rule 2.253(b), represented litigants are-required to
        24             electronically file documents with the Court through an approved EFSP.
        25          c) Public Notice
        26             The Court has issued a Public Notice with effective dates the Court required parties to
        27             electronically file documents through one or more approved EFSPs. Public Notices containing
        28             effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.ora.
                                                                  .     2,      ;
                                 FIRST AMENDED GENBRAc.ORDER RE MANDATORY ELECTRONIC FiLING F-OR CIVII
.                                          ~.       ...~._.,   _.. ~~..                                    ..;.     ~.,
    Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 32 of 41 Page ID #:39
           II                                                                                                     2019-GEN-01400




     1              d) Documents in Related Cases
     2                 Documents in related cases must be electronically filed in the eFiling portal for that case type if
     3                 electronic filing has been implemented in that case type, regardless of whether the case has
     ~1!
                       been related to a Civil case:;
                3) EXEMPT LITIGANTS
                    a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are.exempt
                       from mandatory electronic filing requirements.
                                                                                  ,
                   b) 1'ursuant to Code of Civi1 Procedure section 1010:6, subdivision (0)(3) and Catifornia Rules of
                                                _                         .   .
                       'Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
                       from filing documents electronically and be pemlitted to file documents by conventional
                       means if the party shows undue hardship or significant prejudice.
    12 I        4) F,EXEMPT FILINGS .
    13 i           a) ' The following documents shall not.be filed electroriically:
    .14                i)      Peremptory ChaIlenges or Challenges for Cause of a Judicial Officer pursuant to Code of
    15                         Civil Procedure sections 170.6 or 170.3;
    16                 ii}     BondsfUndertaking documents;
    17                 iii) Trial and Evidentiary Hearing Exhibits
    18                 iv) Any ex parte application that is filed concurrently with a new complaint including those
    19                         that will be handled by a Writs and Receivers department iri the Mosk courthouse; and
    20                 v) " Documents submitted conditionally under'seal. The actual mopon.or application shall be
    21                         electronically filed. A c'ourtesy copy of the electronicalIy filed motion or application to
                        . ~.
    22                         submit documents conditionally under seal must be provided with the documents .
    23                         submitted conditionally under seal.
    24             b} Lodgments
    25                 Documents attached to a Notice of Lodgment shal! be Iodged and/or served co[lventionally in
    26          paper forn. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
    27

    28      //

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                                   FIRST AMEHNDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL .
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 33 of 41 Page ID #:40
                                                                                                  2019-GEN-014-00



 1    5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
 2      Eiectronic filing service providers must obtain and manage registration information for persons
 3      and entities electronically filing with-the court.
                                                                                             ..
 4    6) TECHNICAL REQUIREMENTS
 5      a) Electronic documents must be electronically filed in PDF, text searchable format when
 6          technologically feasible without impairment of the document's image.
 7      b) The table of contents for, any f ling must be bookmarked.=
 81        Electronie documents, ineIuding but not limited to, declarations, proofs of serviee, and
 9         exlubits, must be bookmarked within the document pursuant to .California Rules, of Court, rule
10         3:1110(f)(4). Electronic bookmarks must include link°s to the first page of each bookmarked
11          item (e.g, exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12         bookedmarked item and briefly de5cribe the item.
13      d) . Attactiments to primary documents must be bookmarked. Examples include, but are not
                                                                                                      ..
14          Iimited to, the following:
15         i)     Depositions;
16         ii) . Declarations;            _
17         iii)   Exhibits (including exlubits to'declarations);                         "
                                                                   -   ..
18         iv) Transcripts (including excerpts withici transcripts);
19       ~ v) ~ ~Points and Authorities;
20         vi)    Citations; and
21         vii) Supporting Briefs.
22      e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23         encouraged.
.24     f) Accompanying Documents                                                                                   `
                             .                                              .                                       ~

25         Each-document acompanying a single pleading must be electronically filed as a separate
26         digital PDF document.
27      g) Multiple Documents .
28         Multiple documents relat'ing to one case can be uploaded in one envelope transaction.

                      F[RST AMENDED GENERAL ORDER RE MANDATURY ELECTRONIC FILING FOR CIVIL                          '
     Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 34 of 41 Page ID #:41
                                                                                                           2019-GEN•014-00



      1           h) Writs and Abstracts
      2              Writs and Abstracts must be submitted as a separate electronic envelope.
            :
      3              Sealed Documenis
          `
      4              If and when a judicial officer orders documents to be filed under seal, those documents must be
      5              filed electronically (unless exempted under paragraph 4); the burden of accurately designating
      6              the documents as sealed at the time of electronic submission .is the snbmitting party's
                     responsibility.
                  j) Redaction
                     Pursuant to California Rules of Court, rule 1.201, it is; the submitting party's. responsibility to         -, .
                                                                                                                             a
     10              redact conftdential information (such as using initials for names of minors, using the last four
     11              digits of a social security number, and using the year for date of birth) so that the information
     12              shall not be publicly displayed.
     13         7) ELECTRONIC
                       _ . ,
                              FILING SCHEDtJI,E
                                          ,

     14           a). Filed Date
     15              i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
     ~16                 shall be deemed to have been effectively filed on that court day if accepted for filing: Any
     17                  document received elec,tronically on a non-court day, is deemed to have b_een effectively
     18                  filed on the next court.dayif accepted. (California.Rules of Court, rule 2.253(b)(6j; Code.

     ~'ig                Civ. Proc. § 1010.6(b)(3)•)
     20              ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
     21                  course because of (1) an interruption in service; (2) a transnvssion error that is not the
     22                  fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
."   23                  order, either on its own'motion or by noticed motion submitted with a declaration for Court .
     24.                 consideration, that the'document be deemed,filed andlor that the document's; filing date
                         conform to the attempted' transmission date.
     26         8) EX PARTE APPLICATIQNS
     27           a) Ex parte applications and all documents in support thereof must be electronically filed no later
     28              `than 10:00 a.m. the court day before"the ex parte hearing.
                                             .                         5
                                 FIRST AMENDED GENERAL 0ltDER RE MANDATORY ELECTRONIC FlLING FOR CIVIL
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 35 of 41 Page ID #:42 ~
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  1       b) Any written opposition to an ex parte application must be electronically fsled by 8:30 a.m. the
  2,          day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte ;
  3           applicat'ton must be provided to the court the day of the ex parte hearing.
  4     9) PRINTED COURTESY COPIES =
  5.      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
  6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
  7           the efiling is submitted; after 4:30 p.m.,,the courtesy copy must be delivered to the courtroom
  $           by.,10:00 a.m. the next business day.,
  9       b) Regardless of the time of,electranic filing, a printed courtesy,copy (along with proof of
 10
              electronic submission) is required, for the following documents:
~11 ~         i)   Any printed document required pursuant to a Standing or General Order;
 12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
 13                pages or morep
               )    -      gs and motions that include Points and anthori ties;
~14~         iu .. Pleadin
.I5          iv) : Demurrers;
 16          v) ' Anti-SLAPP filings, pursuant to Code. of Civil Procedure section 425.16; ;
 17          vi)   Motions for Summary Judgment/Adjudication; and
 18         vii)   Motions to Compel Further Discovery.
'19       c)`. Nbthing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20           additional documents. Courtroom specific courtesy copy guidelines can be found at
21           www:lacourt.ora on the Civil webpage under "Courtroain Information."
22      0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23        a) Fees and costs associated with electronic filing must be waived for any litigant who has
24           received a fee waiver. (Califonua Rules of Court, rules 2.253(b)o, 2.258(b), ,Code Civ: Proc, §,
25           1010:6(d)(2):)

26        b) Fee waiver applications for,waiver of court fees and costs pursuant to Code of Civil Procedure
27           section 1010.6,.subdivision (b)(6), and Califomia Rules of Court, rule 2.252(f), may be
28           electronically filed in any authorized action or proceeding.
                                 ,     .                     6


                        FIRST AMENbED GENERAL ORDER RE MANDATORY ELEC1RONiC FiLING FOR CIVtL
                                                             _   . _.   .      _...
    Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 36 of 41 Page ID #:43
           I~                                                               2019-GEN-0i 4-00 ~



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   Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 37 of 41 Page ID #:44

                                                                                                     Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:
                                                                                                               FILED
  Stanley Mosk Courthouse                                                                           S ~~ ~~ ~ a~~,; l;~ a
  111 North Hill Street, Los Angeles, CA 90012                                                       ~~'~~c# 9-4sAr'gabs
                                                                                                          11r'23020
                      NOTICE OF CASE ASSIGNMENT                                            ~~~~, Ezb~;'~&mQ lader/ed& orcdul
                                                                                            4
                         UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:
   Your case is assigned for all purposes to the judicial officer indicated below.   20STCV44953

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE              I DEPT I ROOM                      ASSIGNED JUDGE                        DEPT          ROOM
          Daniel S. Murphy                   32




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 11/24/2020                                                         By C. Monroe                                           , Deputy Clerk
                (Date)
LACIV 190 (Rev6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 38 of 41 Page ID #:45

                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
 for your assistance.

 APPLICATION
 The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

 CHALLENGE TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
 to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

 TIME STANDARDS
 Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

 COMPLAINTS
 All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

 CROSS-COMPLAINTS
 Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
 complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

 STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the coui•t a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionallv Comalex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
  Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 39 of 41 Page ID #:46



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS A
Branch Name: Stanley Mosk Courthouse
Mailing Address: 111 North Hill Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: MARIA MONGE vs WELLS FARGO BANK N.A., A CORPORATION, et al.    CASE NUMBER:
                                                                            20STCV44953
            NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: One Legal
Reference Number: 15518316
Submission Number: 20LA02836236
Court Received Date: 11/23/2020
Court Received Time: 11:33 pm
Case Number: 20STCV44953
Case Title: MARIA MONGE vs WELLS FARGO BANK N.A., A CORPORATION, et al.
Location: Stanley Mosk Courthouse
Case Type: Civil Unlimited
Case Category: Wrongful Termination
Jurisdictional Amount: Over $25,000
Notice Generated Date: 11/24/2020
Notice Generated Time: 10:13 am

Documents Electronicallv Filed/Received                  Status

Complaint                                              Accepted




Civil Case Cover Sheet                                 Accepted




Notice (name extension)                                Accepted




Comments
Submitter's Comments:

Clerk's Comments:
                                     NOTICE OF CONFIRMATION OF FILING
  Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 40 of 41 Page ID #:47




Electronic Filing Service Provider Information
Service Provider: One Legal
Contact: One Legal
Phone: (800) 938-8815




                                    NOTICE OF CONFIRMATION OF FILING
Case 2:21-cv-03412-ODW-AGR Document 1-1 Filed 04/21/21 Page 41 of 41 Page ID #:48
                                      Superior Court of California
                                        County of Los Angeles



                           Receipt No: EFM-2020-2627332.1

                           Date:        11/24/20 10:14 AM
                           Time:        11/24/20 10:14 AM
                           CASE # 20STCV44953
                           MARIA MONGE vs WELLS FARGO BANK N.
                             Unlimited Civil- Compt/UD/Pet           435.00
                             filed >25k -
                             GC70611,70602.5,70602.6
                             Court Transaction Fee                     2.25
                                              Case Total:            437.25




                                               Total Paid:           437.25

                           20LA02836236
